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AO 442 (Rev. 11/11) Arrest Warrant



                                        United States District Court
                                                            for the

                                                     District of Columbia

                  United States of America                        Case: 1:21-mj-00181
                                                              ) Assigned to: Judge Faruqui, Zia M
                                                              ) Assign Date: 1/28/2021
                    Jason Lee Hyland                          ) Description: COMPLAINT W/ARREST WARRANT




                            Defe dant

                                                    ARREST WARRANT
To: Any authorized law enforcement officer


         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
( ame of person to be a rested)                                              Jason Lee Hyland
who is accused of an offense or violation based on the following document fded with the court:

    Indictment               Superseding Indictment    Information     Superseding Information              2J Complaint
    Probation Violation Petition Supervised Release Violation Petition               Violation Notice Order of the Court

This offense is briefly described as follows:

18 U.S.C. 1752 (a)(1) and (2) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without
Lawful Authority

40 U.S.C. § 5104(e)(2)(D) and (G) - Disorderly Conduct on Capitol Grounds
                                                                                                   2021.01.28
                                                                                                    17:15:20 -05'00'
Date:         01/28/2021
                                                                                   Issui g officer's i nature


City and state:                  Washington, D.C.                        Zia M. Faruqui, U.S. Ma istrate Jud e
                                                                                    Printed ame and title
